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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI


Christopher Gray and                           )
William Mark Koppelmann,                       )
       Plaintiffs,                             )
                                               )
vs.                                            )       Case No. 4:16-cv-01548-AGF
                                               )
St. Louis City Board of Election               )
Commissioners,                                 )
                                               )
       Defendant.                              )


                            JOINT STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

hereby jointly stipulate to the dismissal of this action with prejudice.


                                                       Respectfully Submitted,

/s/ John J. Ammann                                     /s/ Matthew A. Jacober
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